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                               UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

 RICKY HARVEY, CHRISTINE ANN
 HARVEY,

                                  Plaintiffs,

 -vs-                                                         Case No. 6:07-cv-1641-Orl-DAB

 LAKE BUENA VISTA RESORT, LLC,

                         Defendant.
 ______________________________________

                                                 ORDER

           This cause came on for consideration without oral argument on the following motions filed

 herein:

              MOTION:        PLAINTIFFS’ MOTION FOR ENTRY OF FINAL
                             JUDGMENT (Doc. No. 48)

              FILED:      April 23, 2008
              _______________________________________________________

              THEREON it is ORDERED that the motion is GRANTED in part.
              MOTION:        MOTION FOR ATTORNEYS’ FEES (Doc. No. 50)

              FILED:      April 24, 2008
              _______________________________________________________

              THEREON it is ORDERED that the motion is GRANTED.

           Plaintiffs have elected the remedies available under Count I of their Complaint, for violation

 of the Interstate Land Sales Full Disclosure Act, in the form of revocation or repayment of all money

 paid under the Purchase Agreement, see 15 U.S.C. § 1703(c)-(e); and, interest, court costs, reasonable

 attorney’s fees, independent appraiser’s fees, and travel to and from the lot. See 15 U.S.C. § 1709(c).
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 Doc. No. 47. Thus, Plaintiffs are entitled to a final judgment in the amount of $77,800, plus pre-

 judgment interest calculated from August 27, 2007, the date they terminated the agreement, through

 the date of final judgment. See Stein v. Paradigm Mirsol, LLC, __ F. Supp.2d __, 2008 WL 344492,

 *7 (M.D. Fla. Feb. 7, 2008) (awarding pre-judgment interest ILSFDA claim from the date the

 plaintiffs provided written notice to developer that they were terminating the agreement and

 demanded the return of deposit); see Doc. No. 10 at 6 (“Notice of Termination of Condominium

 Purchase Agreement”).

        Plaintiffs also seek attorney’s fees of $20,547.50 pursuant to 15 U.S.C. § 1709, and $386 in

 taxable costs. The attorney’s fees amount is based on approximately 67 hours of attorney and

 paralegal time at $350 per hour for name partner work, $200 per hour for other attorney work, and

 $75 per hour for paralegal work; these rates and the hours billed are reasonable. The costs set forth

 in the bill (doc. No. 51) are for the filing fee and service of the summons; these are also reasonable.

 Moreover, Defendant does not oppose the amounts sought or the form of final judgment, although it

 reserves its right to appeal the decision on the merits. Doc. No. 52.

        The Clerk is DIRECTED to enter judgment in favor of Plaintiffs and against Defendant as

 follows: Plaintiffs were entitled to terminate the Purchase Agreement on August 27, 2007, and are

 entitled to the return of $77,800.00 in deposits, plus pre-judgment interest accrued thereon through

 May 21, 2008 in the amount of $18,309 (applying Florida’s statutory interest rate to the dates and

 deposit amounts set forth, without objection, in Plaintiffs’ motion). The Clerk is further DIRECTED

 to tax the Bill of Costs (see Doc. No. 51) and close the file.

        DONE and ORDERED in Orlando, Florida on May 21, 2008.
                                                                  David A. Baker
                                                               DAVID A. BAKER
                                                         UNITED STATES MAGISTRATE JUDGE


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 Copies furnished to:

 Counsel of Record




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